       Case 2:16-cr-00046-GMN-NJK             Document 238        Filed 04/13/16     Page 1 of 1



 1
 2
 3
                                   UNITED STATES DISTRICT COURT
 4
                                          DISTRICT OF NEVADA
 5
 6
                                               )
 7   UNITED STATES OF AMERICA,                 )
                                               )                  Case No. 2:16-cr-00046-GMN-PAL
 8                     Plaintiff,              )
                                               )
 9   vs.                                       )                  ORDER
                                               )
10   BLAINE COOPER,                            )
                                               )
11                     Defendant.              )
     __________________________________________)
12
            This matter is before the Court on Defendant Blaine Cooper’s Motion for Defendant to
13
     Appear at Arraignment by Way of Video Conference (#237), filed on April 12, 2016. The motion
14
     was filed at 4:39 P.M. PDT.
15
            Defendant is scheduled to be transported from Oregon with other Defendants charged in this
16
     case to appear for arraignment in this District on April 15, 2016. Defendant has been on notice for
17
     some time of the order entered by the District Court for the District of Oregon that he and the other
18
     Defendants be transported to the District of Nevada for initial appearance and arraignment.
19
     Defendant’s motion is therefore untimely. In addition, the Court has scheduled an April 22, 2016
20
     hearing to determine whether this case should be designated complex at which all Defendants who
21
     have made an appearance shall be present. Order (#237). Defendant’s presence in this District for
22
     that hearing is therefore also required. Accordingly,
23
            IT IS HEREBY ORDERED that Defendant Blaine Cooper’s Motion for Defendant to
24
     Appear at Arraignment by Way of Video Conference (#237) is denied.
25
            DATED this 13th day of April, 2016.
26
27                                                ______________________________________
                                                  GEORGE FOLEY, JR.
28                                                United States Magistrate Judge for
                                                  Magistrate Judge Peggy Leen
